         Case 18-36657 Document 80 Filed in TXSB on 08/01/19 Page 1 of 14




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION                                             ENTERED
                                                                                             08/01/2019
IN RE:                                         §                   CASE NO. 18-36657-H5-11
                                               §
ALVIN SMOKED MEATS & EATS, LLC                 §
                                               §
   Debtor(s)                                   §                  CHAPTER 11


  ORDER CONFIRMING DEBTOR’S 2nd AMENDED PLAN OF REORGANIZATION
            FOR SMALL BUSINESS UNDER CHAPTER 11 AND
               APPROVING DISCLOSURE STATEMENT
                          (docket #61, 75)


       AT HOUSTON, TEXAS on this date came before this Court debtor’s 2nd Amended Plan
of Reorganization for Small Business Under Chapter 11 pursuant to Title 11 U.S.C. § 1129 (docket
#75), and the debtor’s Disclosure Statement pursuant to Title 11 U.S.C. § 1125 (docket #61). The
Court, after notice and hearing, based upon the evidence presented, testimony of witnesses, and
any argument of counsel, finds as follows:

       1. The Plan, Disclosure Statement, and a ballot for accepting or rejecting the Plan have
          been served upon all creditors and parties in interest;

       2. Notice of hearing on confirmation of the Plan and final approval of the Disclosure
          Statement was given in accordance with Title 11 United States Code, the Federal Rules
          of Bankruptcy Procedure, the Local Rules for the Southern District of Texas, and the
          Orders of this Court;

       3. The Disclosure Statement complies with all applicable provisions of Title 11 Untied
          States Code. The Plan complies with all applicable provisions of Title 11 United States
          Code and the Federal Rules of Bankruptcy Procedure relating to confirmation;

       4. The 2nd Amended Plan of Reorganization for Small Business Under Chapter 11,
          appearing as docket #75, should be Confirmed pursuant to Title 11 U.S.C. § 1129.

       It is therefore:

        ORDERED that the Disclosure Statement appearing as docket #61 is APPROVED under
Title 11 U.S.C. § 1125. It is further;

      ORDERED that the 2nd Amended Plan of Reorganization for Small Business Under
Chapter 11, appearing as docket #75 and attached to this Order as Exhibit A, is hereby
CONFIRMED pursuant to Title 11 U.S.C. § 1129. It is further;
        Case 18-36657 Document 80 Filed in TXSB on 08/01/19 Page 2 of 14




        ORDERED that in accordance with Title 11 U.S.C. § 1142, debtor is authorized and
directed, without the necessity of any further approval, to immediately take any action necessary
or appropriate to implement, effectuate, and consummate the Plan and any transactions
contemplated thereby or by this Order in accordance with their respective terms. It is further:

        ORDERED that the reorganized debtor shall timely pay post-confirmation quarterly fees
assessed pursuant to 28 U.S.C. § 1930(a)(6) until such time that this Court enters a final decree
closing this chapter 11 case, enters an order converting the case to a case under chapter 7, or an
order dismissing this case. After confirmation the reorganized debtor shall file with this Court and
serve upon the United States Trustee a financial report for each quarter, or portion thereof, that
this chapter 11 case remains open, in a format prescribed by the United States Trustee.



Signed: __________________________



                      August 01, 01,
                       November  20192018     __________________________________________
                                              JEFFREY P. NORMAN
                                              UNITED STATES BANKRUPTCY JUDGE
         Case
         Case 18-36657
              18-36657 Document
                       Document 80
                                75 Filed
                                   Filed in
                                         in TXSB
                                            TXSB on
                                                 on 08/01/19
                                                    07/15/19 Page
                                                             Page 3
                                                                  1 of
                                                                    of 14
                                                                       12



                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                                           §                   CASE NO. 18-36657-H5-11
                                                 §
ALVIN SMOKED MEATS & EATS, LLC                   §
                                                 §
   Debtor(s)                                     §                   CHAPTER 11


         2nd AMENDED PLAN OF REORGANIZATION FOR SMALL BUSINESS
                            UNDER CHAPTER 11



Alvin Smoked Meats & Eats, LLC’s 2nd Amended Plan of Reorganization, Dated July 14,
2019.


Article 1: Summary

This plan of reorganization (the Plan) under chapter 11 of the bankruptcy code (the Code) proposes
to pay the creditors of Alvin Smoked Meats & Eats, LLC (the Debtor) from cash flow from
operations and future income.

This plan provides for:           1    class of priority claims;
                                  8    classes of secured claims;
                                  1    class of non-priority unsecured claims; and
                                  1    class of equity security holders.

Non-priority unsecured creditors holding allowed claims will receive distributions which the
proponent of this Plan has valued at approximately 100 cents on the dollar. This Plan also provides
for the payment of administrative and priority claims.

All creditors and equity security holders should refer to Articles 3 through 6 of this Plan for
information regarding the precise treatment of their claim. A disclosure statement that provides
more detailed information regarding this Plan and the rights of creditors and equity security holders
has been circulated with this Plan. Your rights may be affected. You should read these papers
carefully and discuss them with your attorney, if you have one. (If you do not have an
attorney, you may wish to consult one.)


Article 2: Classification of Claims and Interests
      Case
      Case 18-36657
           18-36657 Document
                    Document 80
                             75 Filed
                                Filed in
                                      in TXSB
                                         TXSB on
                                              on 08/01/19
                                                 07/15/19 Page
                                                          Page 4
                                                               2 of
                                                                 of 14
                                                                    12



2.01 Class 1…………………….. All allowed claims entitled to priority under § 507(a) of the
                       Code (except administrative expense claims under §
                       507(a)(2), and priority tax claims under § 507(a)(8)).
                       Debtor’s pre-petition priority creditors meeting the above
                       classification are listed below: None

2.02 Class 2…………………….           All allowed Secured Claims are claims secured by property
                                of the Debtor’s bankruptcy estate (or that are subject to set-
                                off) to the extent allowed as secured claims under § 506 of
                                the Code. If the value of the collateral or setoffs securing
                                the creditor’s claim is less than the amount of the creditor’s
                                allowed claim, the deficiency will be classified as a general
                                unsecured claim. Debtor’s pre-petition secured claims are
                                separately classified, as outlined below:

                                2.01. The claim of Brazoria County Tax Assessor-
                                Collector to the extent as an allowed secured claim under
                                § 506 of the Code.

                                2.02. The claim of City of Houston to the extent as an
                                allowed secured claim under § 506 of the Code.

                                2.03. The claim of Kapitus Servicing, Inc., f/k/a/
                                Colonial Funding Network, Inc., as servicing provider
                                of Blue Fund Capital Inc. (“Colonial”) to the extent as
                                an allowed secured claim under § 506 of the Code.

                                2.04. The claim of Acme Company aka Mantis Funding
                                to the extent as an allowed secured claim under § 506 of
                                the Code.

                                2.05. The claim of Green Capital Funding, LLC to the
                                extent as an allowed secured claim under § 506 of the Code.

                                2.06. The claim of Everest Business Funding to the extent
                                as an allowed secured claim under § 506 of the Code.

                                2.07. The claim of Lane Equipment Company to the
                                extent as an allowed secured claim under § 506 of the Code.

                                2.08. The claim of US Foods, Inc. to the extent as an
                                allowed secured claim under § 506 of the Code.

2.03 Class 3…………………….           All non-priority unsecured claims allowed under § 502 of
                                the Code.
       Case
       Case 18-36657
            18-36657 Document
                     Document 80
                              75 Filed
                                 Filed in
                                       in TXSB
                                          TXSB on
                                               on 08/01/19
                                                  07/15/19 Page
                                                           Page 5
                                                                3 of
                                                                  of 14
                                                                     12



2.04 Class 4…………………….             Equity interests of the Debtor.

Article 3: Treatment of Administrative Expense Claims, Priority Tax Claims, and Quarterly
           and Court Fees

3.01 Unclassified Claims……… Under section § 1123(a)(1), administrative expense claims,
                            and priority tax claims are not in classes.

3.02 Administrative Expense       Each holder of an administrative expense claim allowed
     Claims…………………….              under § 503 of the Code will be paid in full on the effective
                                  date of this Plan, in cash, or upon such other terms as may
                                  be agreed upon by the holder of the claim and the Debtor.
                                  Debtor’s administrative expense claims are estimated
                                  below:

                                  Michael Hardwick Law, PLLC: $15,000.00 (estimated),
                                  less any retainer on hand, subject to final approval of the
                                  Bankruptcy Court.

                                  Texas Workforce Commission: $229.32, plus any
                                  applicable penalties/interest that have accumulated as of
                                  the effective date of the plan.

                                  Texas Comptroller of Public Accounts: $494.61, plus
                                  any applicable penalties/interest that have accumulated as
                                  of the effective date of the plan.

                                  Texas Comptroller of Public Accounts: $3,611.05, plus
                                  any applicable penalties/interest that have accumulated as
                                  of the effective date of the plan.

                                  Texas Comptroller of Public Accounts: $1,755.88, plus
                                  any applicable penalties/interest that have accumulated as
                                  of the effective date of the plan.

3.03 Priority Tax Claims……… Each holder of a § 507(a)(8) priority tax claim will receive
                            regular installment payments equal to the allowed amount
                            of such claim over a period ending not later than March 13,
                            2023, with interest pursuant to § 511. Debtor’s § 507(a)(8)
                            priority tax claims are listed below:

                                  Texas Comptroller of Public Accounts: $1,281.81 to be
                                  paid in monthly installments of $56.52 per month
                                  beginning August 1, 2019 and ending July 1, 2021 with
                                  interest pursuant to § 511.
       Case
       Case 18-36657
            18-36657 Document
                     Document 80
                              75 Filed
                                 Filed in
                                       in TXSB
                                          TXSB on
                                               on 08/01/19
                                                  07/15/19 Page
                                                           Page 6
                                                                4 of
                                                                  of 14
                                                                     12



                                      Texas Comptroller of Public Accounts: $551.14 to be
                                      paid in full on the effective date of the plan, with interest
                                      pursuant to § 511.

                                      Texas Workforce Commission: 4,096.75 to be paid in
                                      monthly installments of $182.49 per month beginning
                                      August 1, 2019 and ending July 1, 2021 with interest
                                      pursuant to § 511.

3.04 Statutory Fees……………. All fees required to be paid under 28 U.S.C. § 1930 that are
                          owed on or before the effective date of this Plan have been
                          paid or will be paid on the effective date.

3.05 Prospective Quarterly All quarterly fees required to be paid under 28 U.S.C. §
     Fees……………………….. 1930(a)(6) or (a)(7) will accrue and be timely paid until the
                           case is closed, dismissed, or converted to another chapter
                           of the Code.


Article 4: Treatment of Claims and Interests Under the Plan

4.01 Claims and interests shall be treated as follows under this Plan:

      Class                           Impairment                          Claim

      Class 1 – Priority Claims            N/A           None. There are no claims entitled to
      Excluding those in Article 3                          priority in this class of claims.

      Class 2.01 – Secured Claim        Impaired         Claim: $2,283.70, plus any accrued
      of Brazoria County Tax                          penalties/interest from the date of filing the
      Assessor-Collector                                             order for relief.

      The secured claim of the Brazoria County Tax Assessor-Collector will be paid in equal
      monthly installments over a 1-year period following the effective date of the plan, with
      interest accruing at 12% pursuant to § 511. Thus, payments to the Brazoria County Tax
      Assessor-Collector will be $202.90 beginning on the 15th day of the first month following
      30 days after the effective date of the plan. The last payment to Brazoria County Tax
      Assessor-Collector will be for any and all remaining amounts due to capture any variations
      based on interest, fees, and the like. Brazoria County Tax Assessor-Collector shall retain
      its liens until the taxes are paid in full. Failure of debtor to timely pay the 2019 taxes will
      constitute an event of default and will be subject to the provisions of Article 10.02.

      Class 2.02 – Secured Claim        Impaired          Claim: $161.00, plus any accrued
      of City of Houston                              penalties/interest from the date of filing the
                                                                     order for relief.
 Case
 Case 18-36657
      18-36657 Document
               Document 80
                        75 Filed
                           Filed in
                                 in TXSB
                                    TXSB on
                                         on 08/01/19
                                            07/15/19 Page
                                                     Page 7
                                                          5 of
                                                            of 14
                                                               12



The secured claim of the City of Houston will be paid in full on the effective date of the
plan as a convenience claim, with interest accruing at 12% pursuant to § 511. The City of
Houston shall retain its liens until the taxes are paid in full. Failure of debtor to timely pay
the 2019 taxes will constitute an event of default and will be subject to the provisions of
Article 10.02.

Class 2.03 – Secured Claim         Impaired                   Claim: $43,184.50
of Kapitus Servicing, Inc.,
f/k/a/ Colonial Funding
Network, Inc., as servicing
provider of Blue Fund
Capital Inc. (“Colonial”)

The secured claim of Colonial will be paid in equal monthly installments over a 5-year
period following the effective date of the plan, with interest accruing at 6%. Thus,
payments to Colonial Funding Network, Inc. will be $834.88 beginning on the 15th day of
the first month following 60 days after the effective date of the plan.

Payments to Colonial will be made via ACH. If the Debtor changes the bank account from
which such ACH debits are being remitted, it shall provide Colonial, within 5 business
days of such change, the new bank account information and a written authorization to
deduct payments via ACH from such account in accordance with the terms of the order
confirming the plan. Any fees incurred by Colonial due to rejected ACH debits shall be
due and payable by Debtor as they accrue in accordance with the fee schedule in the
Revenue Based Factoring Agreement RBF/ACH dated July 17, 2017 between the parties
(the “Revenue Based Factoring Agreement”).

The 60th payment to Colonial will be for any and all remaining amounts due to Colonial
to capture any variations based on interest, fees, and the like.

Notwithstanding any terms to the contrary in the Plan or the Confirmation Order, the
secured debt shall be secured, post confirmation, by the same assets described in Colonial’s
UCC Financing Statement No. 170012624285, filed on April 13, 2017, with the Texas
Secretary of State (with the Secured Party’s name being C T Corporation, as
representative). The security interest shall be perfected as of the date of entry of the
Confirmation Order without the need to file or execute any document as may otherwise be
required under applicable non-bankruptcy law.

Colonial is authorized, but not required, to file a new post confirmation UCC financing
statement to continue the perfection of the prepetition security interest described in UCC
Financing Statement No. 170012624285, filed on April 13, 2017, with the Texas Secretary
of State.

All other terms of the Revenue Based Factoring Agreement not expressly modified by Plan
or Confirmation Order shall remain in full force and effect, including maintaining
business-interruption insurance naming Colonial as a loss payee and providing Colonial
with financial reporting as requested by Colonial. The Revenue Based Factoring
 Case
 Case 18-36657
      18-36657 Document
               Document 80
                        75 Filed
                           Filed in
                                 in TXSB
                                    TXSB on
                                         on 08/01/19
                                            07/15/19 Page
                                                     Page 8
                                                          6 of
                                                            of 14
                                                               12



Agreement as modified by the Plan and the Confirmation Order shall be binding upon and
enforceable against the Debtor to the fullest extent under applicable law.

All terms of the guaranties of Mohammed Ehasan Kabir and any other existing guaranties
shall remain in full force and effect and shall be binding upon and enforceable against the
guarantors to the fullest extent under applicable law.
Notwithstanding anything in the Plan or Confirmation Order to the contrary, with respect
to Colonial only, the Plan and/or Confirmation Order shall not release or discharge any
entity, other than the Debtor, solely as provided in the Plan and/or Confirmation Order,
from any liability owed to Colonial under the Revenue Based Factoring Agreement,
including, without limitation, interest, costs, and attorneys’ fees and expenses. This
provision shall not be an admission by any party that such liability exists.

Notwithstanding anything in the Plan and/or Confirmation Order to the contrary, with
respect to Colonial only, the Plan and/or Confirmation Order shall not limit Colonial’s
setoff rights under 11 U.S.C. Section 553 or any rights to recoupment. Nothing in the Plan
and/or Confirmation Order shall be interpreted to enjoin or limit Colonial from asserting
those rights. This provision is not an admission by any party that such setoff or
recoupment rights exist.

The Debtor will take all actions, execute, and deliver any and all documents reasonably
necessary to carry out the intent of its agreement for the treatment of Colonial’s secured
claim as set forth in the Plan and Confirmation Order including, without limitation, to
maintaining the perfection of Colonial’s security interests described in Colonial’s filed
Proof of Claim and with respect to the obligations under the Revenue Based Factoring
Agreement, the existing guaranty (or guaranties), the Plan, and the Confirmation order.

Class 2.04 – Secured Claim       Impaired                  Claim: $20,814.47
of Acme Company aka
Mantis Funding

The secured claim of Acme Company aka Mantis Funding is $5,083.43 and will be paid
in equal monthly installments over a 5-year period following the effective date of the plan,
with interest accruing at 6%. Thus, payments on the secured claim of Acme Company aka
Mantis Funding will be $98.28 beginning on the 15th day of the first month following 60
days after the effective date of the plan. The 60th payment to Acme Company aka Mantis
Funding will be for any and all remaining amounts due to capture any variations based on
interest, fees, and the like. Any remaining claim of Acme Company aka Mantis Funding
will be treated as a general, unsecured claim and paid pro-rata pursuant to the terms of
Class 3 claims.

Notwithstanding any terms to the contrary in the Plan or the Confirmation Order, the
secured debt shall be secured, post confirmation, by the same assets described in Acme
Company aka Mantis Funding’s UCC Financing Statement No. 170029087842, filed on
August 24, 2017, with the Texas Secretary of State. The security interest shall be perfected
as of the date of entry of the Confirmation Order without the need to file or execute any
 Case
 Case 18-36657
      18-36657 Document
               Document 80
                        75 Filed
                           Filed in
                                 in TXSB
                                    TXSB on
                                         on 08/01/19
                                            07/15/19 Page
                                                     Page 9
                                                          7 of
                                                            of 14
                                                               12



document as may otherwise be required under applicable non-bankruptcy law. Upon
completion of the secured claim under this plan, Acme Company aka Mantis Funding shall
file its termination statement with the Texas Secretary of State regarding UCC Financing
Statement No. 170029087842. Such statement shall be filed within 30 days of receipt of
the final secured claim payment due under this payment to Acme Company aka Mantis
Funding.

Class 2.05 – Secured Claim      Impaired                  Claim: $22,412.81
of Green Capital Funding,
LLC

The secured claim of Green Capital Funding, LLC is wholly unsecured. Thus, the claim
of Green Capital Funding, LLC will be treated as a general, unsecured claim and paid pro-
rata pursuant to the terms of Class 3 claims.

Class 2.06 – Secured Claim      Impaired                   Claim $45,937.59
of Everest Business
Funding, LLC

The secured claim of Everest Business Funding, LLC is wholly unsecured. Thus, the claim
of Everest Business Funding, LLC will be treated as a general, unsecured claim and paid
pro-rata pursuant to the terms of Class 3 claims.

Class 2.07 – Secured Claim     Unimpaired                  Claim: $7,364.37
of Lane Equipment
Company

The secured claim of Lane Equipment Company shall continue be paid according to its
contractual terms.

Class 2.08 – Secured Claim      Impaired                   Claim: $7,023.14
of US Foods, Inc.

The secured claim of US Foods, Inc is wholly unsecured. Thus, the claim of US Foods,
Inc. will be treated as a general, unsecured claim and paid pro-rata pursuant to the terms
of Class 3 claims

Class 3 – Non-priority          Impaired               Est. Claims: $95,516.53
Unsecured Creditors

General unsecured claims are not secured by property of the estate and are not entitled to
priority under § 507(a) of the Code. The allowed general unsecured claims will be paid
100% of their claim in 60 monthly payments. Payments will be due and payable
beginning on the 15th day of the first month following 60 days after the effective date of
the plan. The amount to be paid pro-rata is currently estimated at $95,516.53.
      Case
      Case18-36657
           18-36657 Document
                    Document80
                             75 Filed
                                FiledininTXSB
                                         TXSBon
                                              on08/01/19
                                                 07/15/19 Page
                                                          Page10 of12
                                                               8 of 14




      Class 4 – Equity Security        Impaired
      Holders of the Debtor

      Equity interest holders are parties who hold an ownership interest (i.e., equity interest) in
      the Debtor. Mohammed E. Kabir is the only equity interest holder in the debtor and will
      retainer his ownership interest in the corporation. Mr. Kabir will receive no distributions
      under this plan on account of any pre-petition insider claims.


Article 5: Allowance and Disallowance of Claims

5.01 Disputed Claim…………... A disputed claim is a claim that has not been allowed or
                           disallowed (by a final non-appealable order), and as to
                           which either:

                                      (i) a proof of claim has been filed or deemed filed, and the
                                      Debtor or another party in interest has filed an objection; or

                                      (ii) no proof of claim has been filed, and the Debtor has
                                      scheduled such claim as disputed, contingent, or
                                      unliquidated.

5.02 Delay of distribution on a       No distribution will be made on account of a disputed claim
     disputed claim……………              unless such claim is allowed by a final non-appealable
                                      order.

5.03 Settlement of disputed The Debtor will have the power and authority to settle and
     claims……………………... compromise a disputed claim with court approval and
                            compliance with Rule 9019 of the Federal Rules of
                            Bankruptcy Procedure.


Article 6: Provisions for Executory Contracts and Unexpired Leases

6.01 Assumed executory       (a) The Debtor assumes, and if applicable assigns, the
     contracts and unexpired following executory contracts and unexpired leases as of
     leases……………………… the effective date:

                                            Alvin Properties, LLC
                                            Lane Equipment Company
                                            TimePayment

                                      (b) Except for executory contracts and unexpired leases
                                      that have been assumed, and if applicable assigned, before
                                      the effective date or under section 6.01(a) of this Plan, or
                                      that are the subject of a pending motion to assume, and if
      Case
      Case18-36657
           18-36657 Document
                    Document80
                             75 Filed
                                FiledininTXSB
                                         TXSBon
                                              on08/01/19
                                                 07/15/19 Page
                                                          Page11 of12
                                                               9 of 14




                                   applicable assign, the Debtor will be conclusively deemed
                                   to have rejected all executory contracts and unexpired
                                   leases as of the effective date. A proof of a claim arising
                                   from the rejection of an executory contract or unexpired
                                   lease under this section must be filed no later than 60 days
                                   after the date of the order confirming this Plan.


Article 7: Means for Implementation of the Plan

The plan of reorganization will be funded by the Debtor through cash flow from operations and
future income. The current management, Mohammed E. Kabir, will remaining in control.


Article 8: General Provisions

8.01 Definitions and Rules of      The definitions and rules of construction set forth in §§ 101
     Construction……………...          and 102 of the Code shall apply when terms defined or
                                   construed in the Code are used in this Plan.

8.02 Effective Date…………….          The effective date of this Plan is the first business day
                                   following the date that is 30 days after the entry of the
                                   confirmation order. If, however, a stay of the confirmation
                                   order is in effect on that date, the effective date will be the
                                   first business day after the date on which the stay expires
                                   or is otherwise terminated.

8.03 Severability……………….           If any provision in this Plan is determined to be
                                   unenforceable, the determination will in no way limit or
                                   affect the enforceability and operative effect of any other
                                   provision of this Plan.

8.04 Binding Effect……………. The rights and obligations of any entity named or referred
                          to in this Plan will be binding upon, and will inure to, the
                          benefit of the successors or assigns of such entity.

8.05 Captions…………………..             The headings contained in this Plan are for convenience of
                                   reference only and do not affect the meaning or
                                   interpretation of this Plan.

8.06 Controlling Effect………..       Unless a rule of law or procedure is supplied by federal law
                                   (including the Code or the Federal Rules of Bankruptcy
                                   Procedure), the laws of the State of Texas govern this Plan
                                   and any agreements, documents, and instruments executed
                                   in connection with this Plan, except as otherwise provided
                                   in this Plan.
       Case
       Case 18-36657
            18-36657 Document
                     Document 80
                              75 Filed
                                 Filed in
                                       in TXSB
                                          TXSB on
                                               on 08/01/19
                                                  07/15/19 Page
                                                           Page 12
                                                                10 of
                                                                   of 14
                                                                      12



8.07 Corporate Governance…..         New organizational documents will prohibit the issuance
                                     of new, non-voting securities and provide for an
                                     appropriate distribution of voting power if additional
                                     classes of securities possessing such power are issued.

8.08 Retention of Jurisdiction...    After confirmation, the Court retains and may exercise
                                     jurisdiction over proceedings concerning: (1) whether
                                     Debtor is in material default under this Plan, (2) whether
                                     the time for performing any Plan obligation should be
                                     extended, (3) adversary proceedings and contested matters
                                     pending as of the Effective Date or specifically
                                     contemplated in this Plan or in the Disclosure Statement
                                     filed with the Court, (4) whether the case should be
                                     dismissed or converted to one under chapter 7, (5) any
                                     proceedings to allow or disallow claims or administrative
                                     expenses (except those incurred after the Effective Date,
                                     unless otherwise stated in attached exhibits to the Plan or
                                     Disclosure Statement), (6) settlements or compromises
                                     under Rule 9019, (7) any proceedings under §§ 110, 329,
                                     or 362, or regarding sanctions, and (8) any other
                                     proceedings, whether or not commenced or contemplated
                                     as of the Effective Date, regarding the implementation,
                                     interpretation, or enforcement of this Plan or the
                                     administration of the bankruptcy case or estate. The
                                     retention of jurisdiction, however, will end on the later of
                                     (a) 2 years after the Effective Date, or (b) as to any then-
                                     pending adversary proceeding or contested matter, when it
                                     is finally resolved by a judgment or order.


Article 9: Discharge

Discharge if the Debtor is a corporation and § 1141(d)(3) is not applicable:

On the effective date of this Plan, the Debtor will be discharged from any debt that arose before
confirmation of this Plan, to the extent specified in § 1141(d)(1)(A) of the Code, except that the
Debtor will not be discharged of any debt:

      (i)    imposed by this Plan; or

      (ii)   to the extent provided in § 1141(d)(6).


Article 10: Other Provisions
      Case
      Case 18-36657
           18-36657 Document
                    Document 80
                             75 Filed
                                Filed in
                                      in TXSB
                                         TXSB on
                                              on 08/01/19
                                                 07/15/19 Page
                                                          Page 13
                                                               11 of
                                                                  of 14
                                                                     12



10.01 Vesting of Property……...    On the Effective Date, title to all assets and properties
                                  dealt with by the Plan shall vest in Debtor, free and clear
                                  of all claims and interests other than any contractual
                                  secured claims granted under any lending agreement, on
                                  the condition that Debtor complies with the terms of the
                                  Plan, including the making of all payments to creditors
                                  provided for in such Plan. If Debtor defaults in
                                  performing under the provisions of this Plan and this case
                                  is converted to a case under chapter 7, all property vested
                                  in Debtor and all subsequently acquired property owned
                                  as of or after the conversion date shall re-vest and
                                  constitute property of the bankruptcy estate in the
                                  converted case.

10.02 Default……………………. Any creditor remedies allowed by 11 U.S.C. §
                       1112(b)(4)(N) shall be preserved to the extent otherwise
                       available at law. In addition to any rights specifically
                       provided to a claimant treated pursuant to this Plan, a
                       failure by the reorganized Debtor to make a payment to a
                       claimant pursuant to the terms of the Plan shall be an
                       Event of Default. If the reorganized Debtor fails to cure
                       an Event of Default within ten (10) days after service of
                       written notice of default, the claimant may (a) enforce the
                       entire amount of its claim, (b) exercise all rights and
                       remedies under applicable non-bankruptcy law, and (c)
                       seek such relief as may be appropriate in this
                       Court. Notice of the default shall be served by first class
                       mail upon the reorganized Debtor at: Alvin Smoked
                       Meats & Eats, LLC, 1109 W Highway 6, Ste D, Alvin,
                       TX 77511, Attn: Mohammed E. Kabir, and upon Debtor’s
                       attorney at: Michael Hardwick Law, PLLC, 2200 North
                       Loop West, Suite 116, Houston, TX 77018,
                       Attn: Michael L. Hardwick.

                                  The Debtor shall be allowed to cure up to two (2)
                                  defaults. Upon a third default, the claimant, at its option,
                                  may declare the default non-cureable and proceed to
                                  collect the remainder of the debt.




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      Case 18-36657
           18-36657 Document
                    Document 80
                             75 Filed
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                                                 07/15/19 Page
                                                          Page 14
                                                               12 of
                                                                  of 14
                                                                     12



Respectfully Submitted:


/s/ Mohammed E. Kabir
Alvin Smoked Meats & Eats, LLC
by: Mohammed E. Kabir, its President


MICHAEL HARDWICK LAW, PLLC

/s/ Michael L. Hardwick
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